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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
             v.                                  :          Case No. 22-cr-15 (APM)
                                                 :
 ELMER STEWART RHODES III,                       :
 KELLY MEGGS,                                    :
 KENNETH HARRELSON,                              :
 JESSICA WATKINS,                                :
 ROBERTO MINUTA,                                 :
 JOSEPH HACKETT,                                 :
 DAVID MOERSCHEL,                                :
 THOMAS CALDWELL, and                            :
 EDWARD VALLEJO,                                 :
                                                 :
            Defendants.                          :


                                 PROPOSED ORDER

       By its Motion, the government requested that the Court issue a protective order to protect

from disclosure information regarding ongoing investigations related to certain Federal Bureau of

Investigations (“FBI”) Confidential Human Sources (“CHSes”) who are expected to testify at trial.

       The Court has carefully considered the points and authorities cited in the government’s

motion, and the Court GRANTS the government’s motion for a protective order.

       Accordingly, IT IS ORDERED that:

1.     The defense shall be prohibited from asking any questions seeking personal identifying

       information from CHS witnesses, specifically, their address or date of birth;

2.     Apart from the instant investigation, the defense shall be prohibited from asking any

       questions about these witnesses’ participation in past or pending investigations or

       undercover operations; and

3.     The defense shall be precluded from eliciting testimony, either on cross-examination or on

       direct, that would detail the FBI’s CHS program and the training and methods used by the

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 FBI as part of their undercover operations.



 SIGNED at Washington, D.C., this _____ day of __________, 2022.



                                               ____________________________
                                               Amit P. Mehta
                                               UNITED STATES DISTRICT JUDGE




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